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2% CIRCUIT COURT & DISTRICT COURT OF MARYLAND FOR Montgomery County

City/County

Portas Located at ©500 Cherrywood Lane Greenbelt MD 20770 Case No, _!:23-CV-00468-LKG
ICI Court Address
STATE OF MARYLAND
OR
Michael Duplessie Vs Talaria Company LLC, dba Hinckley Yacht Services
Name ‘Name
7815 English Way | Little Harbor Landing
Address Address
Bethesda, MD 20817 Portsmouth, RI 02871
City, State, Zip City, State, Zip

MOTION FOR CONTINUANCE / POSTPONEMENT
I, Michael Duplessie

Name
move that the court grant a continuance / postponement of the proceeding listed below:

Type of proceeding: Civil action

Currently scheduled date and time; _Status update requested by Court due August 7, 2024

for the following reasons: L. The defendant's cardiac surgeons have diametrically opposed surgical plans for bis Sth heart surgery.

See attached documents. 2.The defendant needs more time to prepare a response.

3 The defendant needs more time ot retain a lawyer . 4. The defendant needs to obtain additional cardiac surgeons opinions.

5 The defendant needs to recover from heart surgery

For these reasons, I request the court continue / postpone the proceeding referenced above.
I solemnly affirm under the penalties of perjury that the contents of this document are true to the best

of my knowledge, information, and belief. Vo Oak
7/29/2024 J 5 ,

Date Signature Attorney Number
Michael Duplessie 804-599-8903
Printed Name Telephone Number
7815 English way
Address Fax
Michael Duplessie doctor@ michaelduplessie.com
City, State, Zip E-mail
CERTIFICATE OF SERVICE
I certify that I served a copy of this motion, upon the following party or parties by &] mailing first-class mail,
postage prepaid 1) hand delivery, on 7/29/2024 = to:
ate
Michael Daly One Citizen Plaza
Name Address

Providence, RI 02903
City, State, Zip
2700 Lighthouse point East, Suite 500
Name Address
Baltimore, MD 21224
City, State, Zip

Meighan Burton

Signature of Party Serving

oe ORDER
It is ORDERED:
C) the relief requested be GRANTED.
C the motion is DENIED.

Comments:

Date Judge ID Number

CC-DC-070 (Rev. 07/2021) Reset

